           January
                     3, 2919

                                                                         PROGRES
                                                                            I            $7
                                                                                       ims Q   VEeC
                                                                         Progressive Select Insurance Company


               P
      711N, Orlando
      Maitland,                €, Suite 202
                FL 32


      Re      Our Insureg:           Angela Seda        a/k/s
                                                         Angela Seda Borrero
              Claim Number           18-2159] 52
             Date ofLoss:           October 1, 2018
              Our Client:          James Spaldin
              ehicle:              2007 H ley David       n

   Dear Mr. ase                    2018-CA-]2326-0 James § alding vs. Angela Seda Borrero
            Perkins




   On €cemb 6, 201       8, I wrote YOu with   an Offer to Settle your Client?s Property dar a8¢ claim. SUce that time,
  UThave S€en the  Complaint YOu filed jn the above referenced lawsuit          v7HE We be leve our Pp        damage
                                                           Your Client’, Property damage claim we € tendering
  evaluation is 4CCurate, in an effort to aMicably. re< OIVE
 $9,674.36 in €xchange for    a    “ASC and/or dismisga] With Prejudice ofthe property, ;        48 claim, This offer
 inchidestha
ae last        9,627,590 Your client is Seeking
             & made on December b, 2018         in   the comp);   int-p
                                                                 20              4 in Statuto, Interest
                                                                                               d         from
                                                                                                            the date




                                              ution ofany particular form Of release.  If
                                                                                        you have any Objections
                                              lease, Please Contact me immediately {0 discuss.




                                                                                                      Exhibit M

                                                                                                        CF 476
